                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       *

         v.                                    *   Criminal No.: 1:19-CR-00438-RDB-1

JAMIE CLEMONS                                  *

*        *      *       *      *       *       *       *       *       *       *       *       *

    MOTION TO DISMISS INDICTMENT WITHOUT PREJUDICE PURSUANT TO
        RULE 48 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

         Now comes Jamie Clemons by Howard L. Cardin and Cardin & Gitomer, P.A. and

David N. Mabrey, his attorneys, and moves this Honorable Court to dismiss the above

indictment for the reason that there is extensive delay in bringing the case to trial. In support

of this motion, Counsel submits the following:

         Rule 48. Dismissal, Paragraph (b) provides

                                   “(b) By The Court. The court may dismiss
                                   an indictment, information, or complaint if
                                   unnecessary delay occurs in:
                                     (3) bringing a defendant to trial.”

         As a result of extensive delay, the Defendant through Counsel is requesting that this

Court dismiss the indictment without prejudice. Pursuant to United States v. Goodson, 204

F.3d 508 (4th Cir. 2000) this Court has the authority to dismiss the indictment without

prejudice; the Government being able to file new charges when the case is capable of being

tried. Counsel does point out to the Court that a Motion to Dismiss on Speedy Trial grounds

has been denied as well as a recent Motion to Set Conditions of Release.

    Counsel submits to this Court that the dismissal of the indictment without prejudice would

resolve all current issues and would not prejudice the Government in prosecuting the case at
the appropriate time. Dismissal of the indictment would also assist in preparation of the case

by the defense as well as the Government; it would avoid the continued expense of

arrangements being made for out of State witnesses and dealing with their calendars.

   For these reasons the Court is requested to exercise its authority under Rule 48 and

dismiss the charges without prejudice.



                                                               /S/
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                                                     Attorneys for Defendant


                              CERTIFICATE OF MAILING

       I hereby certify that on this 4th day of December, 2020, I filed the above

electronically with the Clerk of the United States District Court using CM/ECF with copies

to all counsel of record.


                                                              /S/
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                                                     HOWARD L. CARDIN
